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IN THE UNITED STATES DISTRICT COURT 05/‘;§§ y s d /'\
FOR THE WESTERN DISTRICT OF TENNESSEE 1 25 4 "‘"
AT JACKSON g - 553 0
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REBA cALLINS, ) /'l/~¢§C[Z§{`@f
) " lOC,‘;j|i!¢
Plaintiff, ) JURY DEMAND
) Civil Action No. 1-04-1309-TAN
v- )
) JUDGE TODD
FIRST STATE BANK, ) MAGISTRATE ANDERSON
)
Defendant. )
RULE 16(b) SCHEDULING ORDER
Pursuant to the scheduling conference set by written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)): June 10, 2005
JOINING PARTIES:
for Plaintiff: July 27, 2005
for Defendant: August 27, 2005
AMENDING PLEADINGS:
for Plaintiff: July 27, 2005
for Defendant: August 27, 2005
COMPLETING ALL DISCOVERY: December 16, 2005
(a) REQUESTS FOR PRODUCTION, INTERRGOATORIES and REQUESTS
FOR ADMISSIONS: December 16, 2005
(b) EXPERT DISCLOSURE (Rule 26(3)(2)):
(i) Pla;intiff‘s Experts: September 29, 2005
(ii) Defendant's Experts: October 28, 2005
(iii) Supplementation under Rule 26(e): November ll, 2005
(c) DEPOSITIONS OF EXPERTS: Decernber 16, 2005
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FILING DISPOSITIVE MOTIONS: January 09, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: February 16, 2006
(b) for Defendant: March 3, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days and is SET for JURY TRIAL on
APRIL 3, 2006 at 9:30 A.M. A joint pretrial order is due on MARCH 24, 2006. In the event
the parties are unable to agree on a joint pretrial order, the parties must notify the court at least
ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motion to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default of service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause show, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
for the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discovegg.

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ThiS order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause show, the scheduling dates set by this Order Will not be modified or extended

 

IT IS SO ORDERED.
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s. TIioMAs ANDERsoN
UNITED STATES MAGISTRATE JUDGE
Date: pg ;;?.7 256 20§§
Respectfully submitted:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CV-01309 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

